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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                       Orlando Division


EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION,

                        Plaintiff,
vs.                                                    Civil Action No. _____________________
                                                       COMPLAINT AND
                                                       DEMAND FOR JURY TRIAL
                                                       INJUNCTIVE RELIEF SOUGHT


AZUL WELLNESS, LLC d/b/a
ORLANDO FLOAT & MASSAGE,

                  Defendant.
______________________________________/

         PLAINTIFF EQUAL EMPLOYMENT OPPORTUNITY COMMISSION’S
                  COMPLAINT AND DEMAND FOR JURY TRIAL

      This is an action under Title VII of the Civil Rights Act of 1964, Title I of the Civil

Rights Act of 1991, and the Pregnancy Discrimination Act, to correct unlawful sex-based

employment practices and to provide appropriate relief to Charging Party Alliana A.

Stevens, who was adversely affected by such practices. The United States Equal

Employment Opportunity Commission (“EEOC” or “Commission”) alleges that Defendant

Azul Wellness, LLC doing business as Orlando Float & Massage, (“Orlando Float” or

“Defendant”) discriminated against Ms. Stevens based on her sex, specifically pregnancy,

by terminating her employment because of her pregnancy, a condition of her sex (female).

                               JURISDICTION AND VENUE

1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,

1343 and 1345. This action is authorized and instituted pursuant to Section 706(f)(1) and



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(3) of Title VII of the Civil Rights Act of 1964 (“Title VII”), as amended, 42 U.S.C. §

2000e-5(f)(1) and (3), the Pregnancy Discrimination Act of 1978, 42 U.S.C. § 2000e(k),

and pursuant to Section 102 of the Civil Rights Act of 1991, 42 U.S.C. § 1981a.

2.     The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the Middle District of Florida, Orlando

Division.

                                         PARTIES

3.     The Commission is an Agency of the United States of America charged with the

administration, interpretation, and enforcement of Title VII, and is expressly authorized to

bring this action by Section 706(f)(1) and (3) of Title VII, 42 U.S.C. § 2000e-5(f)(1) and

(3), the Pregnancy Discrimination Act of 1978, 42 U.S.C. § 2000e(k), and Section 102 of

the Civil Rights of Act of 1991, 42 U.S.C. § 1981a.

4.     The Defendant is a Florida limited liability company.

5.     The Defendant’s current principal place of business is 5380 S Kirkman Road

Orlando, Florida 32819.

6.     At all relevant times, the Defendant has continuously done business in Florida, and

has continuously had at least fifteen employees.

7.     Ms. Tina Manomaivat and Mr. Jason Manomaivat are the owners of Orlando Float.

8.     At all relevant times, the Defendant has continuously been an employer engaged in

an industry affecting commerce within the meaning of Sections 701(b), (g), and (h) of Title

VII, 42 U.S.C.




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                         ADMINISTRATIVE PROCEEDINGS

9.     More than thirty days prior to the institution of this lawsuit, Ms. Stevens filed a

charge of discrimination with the Commission.

10.    The Commission sent Defendant notice of Ms. Stevens’ discrimination charge.

11.    The Commission issued a Letter of Determination on April 30, 2019 finding

reasonable cause to believe that Defendant discriminated against Ms. Stevens because of

her sex, specifically pregnancy.

12.    The Commission engaged in communications with Defendant to provide the

Defendant the opportunity to remedy the discriminatory practices described in the Letter of

Determination.

13.    The Commission was unable to secure from the Defendant a conciliation agreement

acceptable to the Commission.

14.    All conditions precedent to the institution of this lawsuit have been fulfilled.

                                STATEMENT OF FACTS

15.    Orlando Float provides relaxation experiences to its customers through float and

massage therapy treatments.

16.    Ms. Stevens was employed as a massage therapist with Orlando Float.

17.    Ms. Stevens began working for Orlando Float in December 2017 and was

discharged with a termination letter dated September 16, 2018.

18.    Throughout her employment, Ms. Stevens was qualified for her position and

performed her duties well.

19.    During Ms. Stevens’ employment, Orlando Float customers would request Ms.

Stevens as the preferred massage therapist to perform the customer’s massage treatment.



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20.    During Ms. Stevens’ employment, Ms. Stevens had repeat customers that would

request Ms. Stevens’ massage services.

21.    Ms. Stevens worked a part-time schedule at Orlando Float, Monday through

Thursday.

22.    Mr. Manomaivat and Ms. Manomaivat were Ms. Stevens’ direct supervisors.

23.    On September 13, 2018 (Thursday), Ms. Stevens informed Ms. Manomaivat and

Mr. Manomaivat that she was pregnant.

24.    On September 14, 2018 (Friday), Orlando Float asked Ms. Stevens for something

in writing from her obstetrician indicating that it was safe for Ms. Stevens to perform

massages while pregnant.

25.    Ms. Stevens responded saying that she did not know why a doctor’s note was

required because she was not requesting any accommodations.

26.    Orlando Float insisted that Ms. Stevens immediately submit a letter from a doctor

and quoted the Orlando Float employee policy that requires the doctor’s note at the onset

of pregnancy.

27.    Orlando Float explained that a doctor’s note clearing Ms. Stevens to work while

pregnant was required for her to continue working.

28.    When Ms. Stevens inquired further about the doctor’s note, Orlando Float

explained that the doctor’s note was “non-negotiable” and that there was no flexibility on

this requirement.

29.    Orlando Float informed Ms. Stevens that she could not return to work without the

doctor’s note stating that she was cleared to continue working.

30.    On Ms. Stevens’ next scheduled work day, Monday, September 17, 2018, Ms.



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Stevens went to work and was handed a termination letter dated September 16, 2018.

31.    Orlando Float terminated Ms. Stevens because of her pregnancy.

32.    Ms. Stevens never requested an accommodation from Orlando Float.

33.    Ms. Stevens never requested any special treatment on account of her pregnancy.

34.    Ms. Stevens has suffered damages as a result of the conduct described herein.

                              STATEMENT OF CLAIMS

35.    Paragraphs 1 through 34 are incorporated by reference as if fully set forth herein.

36.    Orlando Float engaged in unlawful employment practices, in violation of Section

703(a)(1) of Title VII, 42 U.S.C. § 2000e-2(a)(1), and the Pregnancy Discrimination Act of

1978, 42 U.S.C. § 2000e(k), by subjecting Ms. Stevens to sex discrimination. Specifically,

Orlando Float discriminated against Ms. Stevens based on her sex by terminating her

because of her pregnancy, a condition of her sex (female).

37.    The effect of the practices complained of in the foregoing paragraphs has been to

affect the terms and conditions of employment for Ms. Stevens, to deprive Ms. Stevens of

her equal employment opportunities, and to otherwise adversely affect her status as an

employee because of her pregnancy, a condition of her sex (female).

38.    The unlawful employment practices complained of in paragraphs 1 through 34

above were intentional.

39.    The unlawful employment practices complained of in paragraphs 1 through 34

above were done with malice or with reckless indifference to the federally protected rights

of Ms. Stevens.




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                                  PRAYER FOR RELIEF

           WHEREFORE, the Commission respectfully requests that this Court:

40.      Grant a permanent injunction enjoining the Defendant, its officers, parent(s),

successors, assigns, agents, managers, employees and all persons in active concert or

participation with it, from participating in discriminatory conduct based on sex;

41.      Order the Defendant to institute and carry out policies, practices, and programs

which provide equal employment opportunities for pregnant women and which eradicate

the effects of its past and present unlawful employment practices;

42.      Order the Defendant to make Ms. Stevens whole by providing appropriate backpay

with prejudgment interest, in amounts to be determined at trial, and other affirmative relief

necessary to eradicate the effects of its unlawful employment practices, including but not

limited to reinstatement or front pay in lieu thereof;

43.      Order the Defendant to make Ms. Stevens whole by providing compensation for

past and future non-pecuniary and pecuniary losses resulting from unlawful employment

practices described above, including but not limited to, emotional pain, suffering,

inconvenience, loss of enjoyment of life, and humiliation, in amounts to be determined at

trial;

44.      Order the Defendant to pay Ms. Stevens punitive damages for engaging in

intentional discrimination with malice or with reckless indifference, in amounts to be

determined at trial;

45.      Grant such other further relief as the Court deems necessary and proper in the

public interest; and

46.      Award the Commission its costs in this action.



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                              JURY TRIAL DEMANDED

       The Commission requests a jury trial on all questions of fact raised by this

Complaint.

Dated: August 28, 2019.

                                                     Respectfully submitted,

                                                     SHARON FAST GUSTAFSON
                                                     General Counsel

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                                                     Deputy General Counsel

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                                                     s/Carmen Manrara Cartaya____
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